919 F.2d 141
    135 L.R.R.M. (BNA) 3272
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.NATIONAL LABOR RELATIONS BOARD, Petitioner,v.KNOXVILLE DISTRIBUTION COMPANY, Respondent.
    No. 90-6201.
    United States Court of Appeals, Sixth Circuit.
    Dec. 3, 1990.
    
      Before DAVID A. NELSON and RYAN, Circuit Judges, and LIVELY, Senior Circuit Judge.
    
    JUDGMENT
    
      1
      The National Labor Relations Board (the "Board") seeks enforcement of its decision in Case Nos. 10-CA-24028 and 10-CA-24106 finding the respondent committed unfair labor practices and ordering the respondent to take specified remedial steps to correct those practices.  The respondent having failed to serve and file an answer to the Board's petition within 20 days as provided in Rule 15(b), Fed.R.App.P., the Board moves for entry of judgment by default.
    
    
      2
      Upon consideration, we conclude the Board is entitled to summary enforcement of its decision and order.  Rule 15(b), Fed.R.App.P.
    
    
      3
      It therefore is ORDERED that the said decision and order of the Board is enforced and that the respondent, Knoxville Distribution Company, of Knoxville, Tennessee, its officers, agents, successors, and assigns, abide by and perform the directions of the Board in such order contained.
    
    